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 1                                                            The Honorable Richard A. Jones
                                                              The Honorable Brian A. Tsuchida
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 8                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT SEATTLE
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     NORTH CASCADES CONSERVATION                      CASE NO. C20-1321RAJ-BAT
11   COUNCIL; and KATHY JOHNSON,
                                                      STIPULATION FOR ORDER
12                                  Plaintiffs,       FURTHER EXTENDING BRIEFING
                                                      SCHEDULE IN LIGHT OF
13               v.                                   SUPPLEMENTATION OF
                                                      ADMINISTRATIVE RECORD;
14   UNITED STATES FOREST SERVICE, an                 ORDER THEREON
     administrative agency of the United States of
15   America; VICKI CHRISTIANSEN, Chief of
     the Forest Service; JAMIE KINGSBURY,
16   Former Forest Supervisor for Mount Baker-
     Snoqualmie National Forest; JODY WEIL,
17   current Forest Supervisor for Mount Baker-
     Snoqualmie National Forest; PETER FORBES,
18   Former District Ranger for Darrington Ranger
     District; ERIN ULOTH, Former Acting District
19   Ranger for Darrington Ranger District;
     GRETCHEN SMITH, Current District Ranger
20   for Darrington Ranger District; PHYLLIS
     REED, Project Lead for Darrington Ranger
21   District,
22                                  Defendants.
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25           WHEREAS on March 8, 2021, in preparing defendants’ opposition to plaintiffs’ summary

26 judgment motion, it was discovered that certain appendices that should have been included in the

27 administrative record were mistakenly omitted from the record; and

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     STIPULATION FOR ORDER FURTHER EXTENDING BRIEFING SCHEDULE IN                      UNITED STATES ATTORNEY
                                                                                    5220 UNITED STATES COURTHOUSE
     LIGHT OF SUPPLEMENTATION OF ADMINISTRATIVE RECORD;                                      700 Stewart Street
     ORDER THEREON - 1                                                               Seattle, Washington 98101-1271
                                                                                              (206)-553-7970
     (Case No. C20-1321RAJ-BAT)
               Case 2:20-cv-01321-RAJ Document 26 Filed 03/12/21 Page 2 of 5



 1           WHEREAS the parties agree that the foregoing necessitates a formal supplementation of the

 2 administrative record by defendants; and

 3           WHEREAS at least some of the missing appendices may have a direct bearing on arguments

 4 made by plaintiffs in their motion; and

 5           WHEREAS counsel for the parties have conferred to discuss possible courses of action

 6 considering this unanticipated circumstance; and

 7           WHEREAS the parties preferred solution is to propose to the Court a further extension of the

 8 present briefing schedule in this lawsuit in order to allow defendants to supplement the

 9 administrative record and to afford plaintiffs an opportunity to consider the new material and to

10 decide whether they would like to go forward with their motion for summary judgment on the basis

11 of the memorandum they have already filed or to submit a new or revised memorandum; and

12           WHEREAS because the acceptance of the parties’ proposal by the Court will necessarily

13 result in a delay of the briefing schedule, the Forest Service has agreed that it should voluntarily

14 delay ground disturbing activities in support of the Project that is the subject of this lawsuit until

15 July 1, 2021;

16           NOW THEREFORE the parties through their respective counsel of record do hereby

17 stipulate and agree that the Court may make and enter the following order:

18           1. By no later than March 22, 2021, defendants shall supplement the administrative record in

19 this action with appendices that should have been lodged with the original administrative record.

20           2. By no later than Friday, April 9, 2021, plaintiffs shall either file a revised memorandum in

21 support of their motion for summary judgment or notify defendants and intervenors that they intend

22 to rely on their original memorandum.

23           3. Defendants and intervenors shall file their respective oppositions to plaintiffs’ summary

24 judgment motion by no later than Monday, April 26, 2021, supported by a memorandum of law that

25 shall not exceed 24 pages in length.

26           4. Plaintiffs may, if they choose, file a reply memorandum by no later than Friday, May 7,

27 2021. The optional reply memorandum shall not exceed 12 pages in length.

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 1           5. Plaintiffs’ motion for summary judgment shall be noted for Friday, May 7, 2021.

 2           6. The parties may seek an adjustment in the page limitations as necessary pursuant

 3 to LCR 7(f) of the Local Rules of this District.

 4           7. Should plaintiffs conclude following their review of the supplemental administrative

 5 record that some or all of the materials contained therein are not properly a part of the administrative

 6 record for the South Fork Stillaguamish Vegetation Project they shall not be foreclosed from asking

 7 the Court upon a sufficient showing to order that those materials be stricken from the administrative

 8 record.

 9 SO STIPULATED.

10                   DATED this 12th day of March 2021.
11                                        TESSA GORMAN
                                          Acting United States Attorney
12

13
                                          /s/ Brian C. Kipnis
14                                        BRIAN C. KIPNIS
                                          Assistant United States Attorney
15                                        Office of the United States Attorney
                                          5220 United States Courthouse
16                                        700 Stewart Street
                                          Seattle, Washington 98101-1271
17                                        Phone: 206 553 7970
                                          E-mail: brian.kipnis@usdoj.gov
18
                                          Attorneys for Defendants
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     STIPULATION FOR ORDER FURTHER EXTENDING BRIEFING SCHEDULE IN                         UNITED STATES ATTORNEY
                                                                                       5220 UNITED STATES COURTHOUSE
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               Case 2:20-cv-01321-RAJ Document 26 Filed 03/12/21 Page 4 of 5



 1 SO STIPULATED.

 2                   DATED this 12th day of March 2021.
 3                                       BRICKLIN & NEWMAN, LLP
 4
                                         /s/ David A. Bricklin
 5                                       DAVID A. BRICKLIN, WSBA No. 7583
                                         /s/ Alex Sidles
 6                                       ALEX SIDLES, WSBA No. 52832
                                         1424 Fourth Avenue, Suite 500
 7                                       Seattle, WA 98101
                                         Telephone: 206-264-8600
 8                                       E-mail: bricklin@bnd-law.com, sidles@bnd-law.com
 9                                       Attorneys for Plaintiffs
10

11 SO STIPULATED.

12                   DATED this 12th day of March 2021.
13                                       /s/ Lawson E. Fite
                                         Lawson E. Fite, WSBA #44707
14                                       American Forest Resource Council
                                         924 Capitol Way S., Suite 102
15                                       Olympia, Washington 98501
                                         Telephone: (360) 352-3910
16                                       Fax: (360) 352-3917
                                         Email: lfite@amforest.org
17
                                         /s/ Sara Ghafouri
18                                       Sara Ghafouri, Ore. Bar #111021
                                         Pro Hac Vice
19                                       700 N.E. Multnomah, Suite 320
                                         Portland, Oregon 97232
20                                       Telephone: (503) 222-9505
                                         Email: sghafouri@amforest.org
21
                                         Attorneys for Defendant-Intervenors
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     STIPULATION FOR ORDER FURTHER EXTENDING BRIEFING SCHEDULE IN                  UNITED STATES ATTORNEY
                                                                                5220 UNITED STATES COURTHOUSE
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               Case 2:20-cv-01321-RAJ Document 26 Filed 03/12/21 Page 5 of 5


                                                 ORDER
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 2 IT IS SO ORDERED.

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                     DATED this      day of March 2021.
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 6                                BRIAN A. TSUCHIDA
                                  Chief United States Magistrate Judge
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     STIPULATION FOR ORDER FURTHER EXTENDING BRIEFING SCHEDULE IN           UNITED STATES ATTORNEY
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